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                                 EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:     Mary Ida Townson, U.S. Trustee for Region 21


Admitted:             YES        or NO        (circle one)                     181


Chapter 11 Debtor:    Genie Investments NV, Inc.


Case No.              3:24−bk−00496−BAJ


Nature of Hearing:    Trial on

                      U.S. Trustee’s Motion to Appoint Chapter 11
                      Trustee, or, in the Alternative, Appoint
                      Examiner, Dismiss Case, or Convert Case to
                      Chapter 7 (Doc. No. 20)

                      Debtor’s Response Thereto (Doc. No. 34)

                      U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:           April 9, 2024, at 9:00 a.m.




                            United States Bankruptcy Court
                               Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
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From:           Vinay Patel
To:             Cade, Steve; Morris, Benjamin J.
Subject:        FW: Michale Lanza & MacMann
Date:           Friday, October 20, 2023 2:01:42 PM


** EXTERNAL EMAIL MESSAGE **
Hi Steve/Ben,

I am forwarding this past communication with macmann.

Thanks,
Vinay


From: Preet Patel <preet.patel@duke.edu>
Date: Friday, August 18, 2023 at 2:13 PM
To: Shailesh Patel <shailesh.patel@sbmhospitality.com>, Vinay Patel
<vinaypatel@sbmhospitality.com>
Subject: Re: Michale Lanza & MacMann

David,

Thank you for taking our call and talking to us this morning. As per our conversation, I
am sending you an email about our experience with Michael at McMann.

 He has been our initial contact and all thru this loan we were led on by him saying
the loan would be funded in few days and those days turned into weeks and month. It
was hard to get him on the phone and would text back when asked what was the
status and he will always come back with I am checking into it.

We had a conference call from India on July 24th where we were told it was matter of
days and not weeks. We have project tied up with contractors to start work and
initially were scheduled to start work middle of July but we kept pushing them back
week after week so they finally got tired of sitting around and waiting and threated to
abandon the job and the contract. So, we called Michael on conf call and told him that
we have the entire project tied in a contract and price have been locked and we will
not be able to afford to let the subs walk out on us that would delay the projects for
months. He told us that initially the funds were wired directly into customers' accounts
but since last week we were advised to open our own account and they will wire the
money into our account and we will than disburse it, so it was matter of days and not
weeks, so I asked him that shall I start the project on Monday August 31st and he told
us to go ahead and start it. I specifically asked him I do not want to start the project if
money will not be here and he said "No" go ahead and start the project and money
will be there next week. We had 3 other people on the call with me who are able to
corroborate this (Vinay, Ritesh and Brijesh).

So, we started the project on both the hotels and now the bills are due and subs are
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demanding payment and we can't pay them because the funds are not here. So,
some of them are threatening to file liens on the project.


Last few days he has not been answering his call and we called several times and he
texts back he is working on it with no specific reason. They have not been transparent
and forth coming and we felt we were not getting appropriate answers.
So please terminate our agreement and send our deposits back ASAP so we can pay
the subs and get them off our back. I really do not want liens on the brand-new Hotels
because the project will not look promising to future lenders. He has not be reachable
by phone whatsoever, there has been absolutely no communication with him at all. At
this point we are concerned about the safety of our funds as well due to their inability
to communicate any updates to the deal. We have to get refunded our deposit to pay
people who we owe due to promises made in bad faith by McMann and Michael
Lanza.


Once again " Thank you" for your time. Please advise your future actions so we can
tell our subs when to expect a check.
Have a wonderful day.




Preet S. Patel M.D.



PGY-2

Duke University Medical Center

Department of Interventional Radiology - 2028

#: 605-321-3072 | Pager: 206-9356

From: Shailesh Patel <shailesh.patel@sbmhospitality.com>
Sent: Friday, August 18, 2023 12:37 PM
To: Preet Patel <preet.patel@duke.edu>; Vinay Patel <vinaypatel@sbmhospitality.com>
Subject: Re: Michale Lanza & MacMann

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So please terminate our agreement and send our deposits back ASAP so we can pay
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Once again " Thank you" for your time. Please advice your future actions so we can
tell our subs when to expect a check.
Have a wonderful day.




Shailesh Patel
SBM Hospitality LLC
3705 W Avera Dr

Sioux Falls. SD 57108
605-376-9509 (cell)

888-711-0240 (Fax)
Shailesh.Patel@SBMHospitality.com



-Success or achievement is not the final goal. It is the spirit in
which you act that makes your life beautiful and worth living.
- Learn to live selflessly and do your duties stay calm in success
and despairs do not let Happiness and sorrow bother you or
deviate your righteousness
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-Neither in this world nor elsewhere is there any happiness in store
for him who always doubts.
- Man is made by his belief. As he believes, so he is.
Famous verses from a Bhagvad Geeta
